Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 1 of 32 Page ID #:756



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                           UNITED STATES DISTRICT COURT
  19                      CENTRAL DISTRICT OF CALIFORNIA
  20                      WESTERN DIVISION – LOS ANGELES

  21   Frankel, et al.,                     Case No. 2:24-CV-4702-MCS
                          Plaintiffs,       DEFENDANTS’ MEMORANDUM OF
  22                                        POINTS AND AUTHORITIES IN
  23          v.                            OPPOSITION TO PLAINTIFFS’
                                            MOTION FOR PRELIMINARY
  24   Regents of the University of         INJUNCTION
       California, et al.,                  Judge:      Hon. Mark C. Scarsi
  25                                        Courtroom: 7C
                          Defendants.       Hearing:    July 29, 2024, 9:00 AM PT
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  28                                                          DEFS.’ OPP. TO PLFS.’ MOT.
                                                                       FOR PRELIM. INJ.
                                                              CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 2 of 32 Page ID #:757



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  28                                                         DEFS.’ OPP. TO PLFS.’ MOT.
                                                ii                    FOR PRELIM. INJ.
                                                             CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 3 of 32 Page ID #:758



   1                                              TABLE OF CONTENTS
   2                                                                                                                         Page
   3   PRELIMINARY STATEMENT ............................................................................... 1
   4   FACTUAL AND PROCEDURAL BACKGROUND .............................................. 3
   5                     A.       UCLA’s Response to the Royce Quad Encampment ................. 3
   6                     B.       Post-Encampment Efforts to Strengthen Capacity to
                                  Respond to Protests..................................................................... 4
   7
                         C.       Plaintiffs’ Lawsuit and Preliminary Injunction Motion ............. 6
   8
       PRELIMINARY INJUNCTION STANDARD ........................................................ 6
   9   ARGUMENT ............................................................................................................. 8
  10            I.       THE COURT LACKS JURISDICTION TO ENTERTAIN
  11                     PLAINTIFFS’ REQUEST FOR A PRELIMINARY
                         INJUNCTION BECAUSE PLAINTIFFS CANNOT
  12                     DEMONSTRATE STANDING TO SEEK THE REQUESTED
  13                     RELIEF ................................................................................................. 8
  14                     A.       Plaintiffs Fail to Allege an Imminent Likelihood of Future
                                  Injury ........................................................................................... 8
  15
                         B.       Plaintiffs Do Not Allege Facts Clearly Demonstrating
  16                              That UCLA Will Cause Them Any Future Injury ................... 11
  17            II.      PLAINTIFFS FAIL TO SATISFY THE STANDARDS FOR A
                         PRELIMINARY INJUNCTION ........................................................ 12
  18
                         A.       Plaintiffs Cannot Show a Likelihood of Irreparable Harm ...... 12
  19
                         B.       Plaintiffs Are Unlikely to Succeed on the Merits of Their
  20                              Claims ....................................................................................... 13
  21                              1.        None of Plaintiffs’ Constitutional Claims Is Viable ...... 13
  22                                        i.       Plaintiffs Cannot Bring Constitutional
                                                     Claims Against UCLA Based on Non-State
  23
                                                     Action .................................................................... 13
  24                                        ii.      Plaintiffs’ Constitutional Claims Based on
  25                                                 UCLA’s Actions Are Meritless ............................ 15
  26                              2.        Plaintiffs Cannot Show That UCLA Was
                                            Deliberately Indifferent to Harassment Directed at
  27                                        Them by UCLA Students and Faculty ........................... 18
  28
                                                                                                  DEFS.’ OPP. TO PLFS.’ MOT.
                                                                   iii                                     FOR PRELIM. INJ.
                                                                                                  CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 4 of 32 Page ID #:759



   1                                           TABLE OF CONTENTS
   2                                                                                                                Page
   3                    C.       The Public Interest and Balance of Equities Do Not Favor
                                 a Preliminary Injunction ........................................................... 19
   4
               III.     PLAINTIFFS’ REQUESTED INJUNCTION IS VAGUE AND
   5
                        NOT ADMINISTRABLE ................................................................... 21
   6   CONCLUSION........................................................................................................ 23
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                                            DEFS.’ OPP. TO PLFS.’ MOT.
                                                                iv                                   FOR PRELIM. INJ.
                                                                                            CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 5 of 32 Page ID #:760



   1                                         TABLE OF AUTHORITIES
   2                                                                                                                Page(s)
   3   CASES
   4   303 Creative LLC v. Elenis,
   5      600 U.S. 570 (2023) ............................................................................................ 17

   6   Am.’s Frontline Drs. v. Wilcox,
         2022 WL 1514038 (C.D. Cal. May 5, 2022)....................................................... 14
   7
       Apartment Ass’n of L.A. Cnty., Inc. v. City of Los Angeles,
   8
         10 F.4th 905 (9th Cir. 2021) .................................................................................. 6
   9
       Belgau v. Inslee,
  10      975 F.3d 940 (9th Cir. 2020) ............................................................................... 13
  11   Benisek v. Lamone,
  12     585 U.S. 155 (2018) ............................................................................................ 19

  13   Blum v. Yaretsky,
          457 U.S. 991 (1982) ............................................................................................ 13
  14
       Burson v. Freeman,
  15
         504 U.S. 191 (1992) ............................................................................................ 18
  16
       Cause & FX Ltd. v. Saban Films, LLC,
  17     2021 WL 6104414 (C.D. Cal. Nov. 10, 2021) .................................................... 19
  18   City of Los Angeles v. Lyons,
  19      461 U.S. 95 (1983) ................................................................................................ 9
  20   Clapper v. Amnesty Int’l USA,
          568 U.S. 398 (2013) .............................................................................................. 8
  21
  22   Danielson v. Wells Fargo Bank,
         2011 WL 4551177 (C.D. Cal. Sept. 29, 2011) ...................................................... 7
  23
       Davis v. Monroe Cnty. Bd. of Educ.,
  24     526 U.S. 629 (1999) ............................................................................ 2, 18, 20, 22
  25   DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs.,
  26     498 U.S. 189 (1989) ............................................................................................ 14
  27   Doe v. Bonta,
         101 F.4th 633 (9th Cir. 2024) ................................................................................ 8
  28
                                                                                             DEFS.’ OPP. TO PLFS.’ MOT.
                                                                  v                                   FOR PRELIM. INJ.
                                                                                             CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 6 of 32 Page ID #:761



   1                                         TABLE OF AUTHORITIES
   2                                                                                                                  Page(s)
   3   Elend v. Basham,
          471 F.3d 1199 (11th Cir. 2006) ........................................................................... 21
   4
   5   Feied v. Regents of Univ. of Cal.,
          188 F. App’x 559 (9th Cir. 2006) ........................................................................ 13
   6
       Fraihat v. U.S. Immigr. & Customs Enf’t,
   7      16 F.4th 613 (9th Cir. 2021) .................................................................................. 7
   8
       Gill v. Whitford,
   9      585 U.S. 48 (2018) .............................................................................................. 22
  10   Grutter v. Bollinger,
  11     539 U.S. 306 (2003) ............................................................................................ 20

  12   Hecox v. Little,
         -- F.4th --, 2023 WL 11804896 (9th Cir. Aug. 17, 2023, amended
  13     June 7, 2024).......................................................................................................... 7
  14   J.M. v. Chino Valley Unified Sch. Dist.,
  15      2018 WL 6075349 (C.D. Cal. Feb. 23, 2018) ..................................................... 20
  16   Juliana v. United States,
          947 F.3d 1159 (9th Cir. 2020) ............................................................................. 22
  17
  18   Karasek v. Regents of Univ. of Cal.,
         956 F.3d 1093 (9th Cir. 2020) ............................................................................. 18
  19
       Lunn v. City of Los Angeles,
  20     629 F. Supp. 3d 1007 (C.D. Cal. 2022) ......................................................... 11, 12
  21
       Martinez v. City of Clovis,
  22     943 F.3d 1260 (9th Cir. 2019) ............................................................................. 15
  23   Meinecke v. City of Seattle,
  24     99 F.4th 514 (9th Cir. 2024) ................................................................................ 17

  25   Muhammad v. California,
         2020 WL 9848693 (C.D. Cal. Oct. 8, 2020) ....................................................... 21
  26
       Nelson v. King County,
  27      895 F.2d 1248 (9th Cir. 1990) ............................................................................... 8
  28
                                                                                               DEFS.’ OPP. TO PLFS.’ MOT.
                                                                   vi                                   FOR PRELIM. INJ.
                                                                                               CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 7 of 32 Page ID #:762



   1                                        TABLE OF AUTHORITIES
   2                                                                                                               Page(s)
   3   Nightingale v. U.S. Citizenship & Immigr. Servs.,
          333 F.R.D. 449 (N.D. Cal. 2019) ........................................................................ 21
   4
   5   Oden v. N. Marianas Coll.,
         440 F.3d 1085 (9th Cir. 2006) ............................................................................. 18
   6
       Ogbechie v. Covarrubias,
   7     2020 WL 3103789 (N.D. Cal. June 11, 2020) .................................................... 15
   8
       Patel v. Kent School Dist.,
   9      648 F.3d 965 (9th Cir. 2011) ......................................................................... 13, 14
  10   Payne v. Travenol Lab’ys, Inc.,
  11     565 F.2d 895 (5th Cir. 1978) ............................................................................... 21

  12   Regents of Univ. of Cal. v. Superior Ct.,
         4 Cal. 5th 607 (2018) ........................................................................................... 14
  13
       Roman v. MSL Cap., LLC,
  14     2019 WL 3017765 (C.D. Cal. July 9, 2019), aff’d, 820 F. App’x
  15     592 (9th Cir. 2020) .............................................................................................. 21
  16   Rosenberger v. Rector & Visitors of Univ. of Va.,
         515 U.S. 819 (1995) ............................................................................................ 16
  17
  18   S&R Glob. Inc. v. Park,
         2024 WL 3086638 (C.D. Cal. Apr. 29, 2024) ..................................................... 12
  19
       Salmon Spawning & Recovery All. v. Gutierrez,
  20      545 F.3d 1220 (9th Cir. 2008) ............................................................................. 11
  21   Schenck v. United States,
  22      249 U.S. 47 (1919) .............................................................................................. 20
  23   Schmidt v. Lessard,
  24      414 U.S. 473 (1974) ............................................................................................ 21

  25   Sessler v. City of Davenport,
          990 F.3d 1150 (8th Cir. 2021) ............................................................................. 22
  26
       Shooter v. Arizona,
  27      4 F.4th 955 (9th Cir. 2021) .................................................................................. 16
  28
                                                                                             DEFS.’ OPP. TO PLFS.’ MOT.
                                                                vii                                   FOR PRELIM. INJ.
                                                                                             CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 8 of 32 Page ID #:763



   1                                          TABLE OF AUTHORITIES
   2                                                                                                                  Page(s)
   3   Spokeo, Inc. v. Robins,
          578 U.S. 330 (2016) ........................................................................................ 8, 11
   4
   5   Stormans, Inc. v. Selecky,
          586 F.3d 1109 (9th Cir. 2009) ............................................................................. 20
   6
       Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.,
   7      600 U.S. 181 (2023) .............................................................................................. 9
   8
       Trinity Lutheran Church of Columbia, Inc. v. Comer,
   9      582 U.S. 449 (2017) ............................................................................................ 16
  10   Utah Physicians for a Healthy Env’t v. Diesel Power Gear LLC,
  11      374 F. Supp. 3d 1124 (D. Utah 2019) ................................................................. 22

  12   Williams-Yulee v. Fla. Bar,
          575 U.S. 433 (2015) ............................................................................................ 17
  13
       Winter v. Nat. Res. Def. Council, Inc.,
  14     555 U.S. 7 (2008) ............................................................................................ 7, 12
  15
       Wright v. Serv. Emps. Int’l Union Loc. 503,
  16     48 F.4th 1112 (9th Cir. 2022) ................................................................................ 8
  17   Yazzie v. Hobbs,
  18      977 F.3d 964 (9th Cir. 2020) ................................................................................. 7

  19   RULES
  20   Fed. R. Civ. P. 65 .................................................................................................. 7, 22
  21
  22
  23
  24
  25
  26
  27
  28
                                                                                               DEFS.’ OPP. TO PLFS.’ MOT.
                                                                  viii                                  FOR PRELIM. INJ.
                                                                                               CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 9 of 32 Page ID #:764



   1                            PRELIMINARY STATEMENT
   2         There is no home at UCLA 1 for conduct that impedes educational access and
   3   jeopardizes the safety of the UCLA community, not least—but not only—when the
   4   conduct is marked with antisemitism. When tents were erected at the heart of the
   5   UCLA campus in the early morning hours of April 25, UCLA faced a volatile and
   6   challenging situation. The encampment in Royce Quad had to be disbanded; the
   7   harder question was how to do so safely. Violence broke out while UCLA
   8   attempted de-escalation, and UCLA had to enlist the aid of law enforcement to
   9   clear the Quad—a process that took several days because of the encampment’s size.
  10   Over the two months since, UCLA has applied the lessons learned from the spring’s
  11   protests to its ongoing preparations for students’ return to campus this fall. It has
  12   created a new Office of Campus Safety, which maintains an Emergency Operations
  13   Center that is empowered to take decisive action in response to protests. Since
  14   May, UCLA has already successfully prevented three efforts to occupy parts of
  15   campus.
  16         Ignoring all this, Plaintiffs’ motion for a preliminary injunction asks the
  17   Court to take the reins and manage UCLA’s response to protest activity on campus,
  18   down to ordering when and where law enforcement should be deployed. Plaintiffs’
  19   motion for this extraordinary prospective relief should be denied, for three reasons.
  20         First, Plaintiffs lack standing to seek an injunction because they cannot
  21   demonstrate that they face imminent future harm, let alone future harm caused by
  22   UCLA. UCLA has been taking comprehensive action to minimize protest-related
  23   disruptions on its campus, and has significantly strengthened its capacity to respond
  24   to protest activity. Even if similar protest activity surfaces on campus again in the
  25   fall—itself an uncertainty—UCLA is prepared to take decisive steps to help guard
  26   the safety of its community and to preserve access to education for all of its
  27
  28
       1
        Unless otherwise noted, all arguments in Defendants’ opposition apply to all
       named defendants, who collectively are referred to as “UCLA.”
                                                                      DEFS.’ OPP. TO PLFS.’ MOT.
                                                  1                            FOR PRELIM. INJ.
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 10 of 32 Page ID #:765



   1   students. Plaintiffs’ assertion that they face recurring harm is based in speculation,
   2   not fact.
   3          Second, Plaintiffs cannot satisfy any of the prerequisites for preliminary
   4   injunctive relief. For the same reasons Plaintiffs lack standing to seek an
   5   injunction, they cannot show that an injunction is necessary to prevent them from
   6   suffering irreparable harm attributable to UCLA—again, they cannot even show
   7   that any future harm is likely, let alone that an injunction against UCLA could
   8   redress it. Nor can Plaintiffs demonstrate a likelihood of success on the merits of
   9   their claims. Their constitutional claims fail because, among other things, they are
  10   based principally on non-state action. Their Title VI claim should be rejected
  11   because UCLA’s response is both ongoing and has been anything but “deliberately
  12   indifferent.” To the contrary, UCLA has commissioned an independent review of
  13   its security processes and an independent investigation into allegations of
  14   discrimination and harassment related to the Royce Quad encampment. Nor do the
  15   public interest or the balance of the equities support Plaintiffs’ request. As the
  16   Supreme Court has held, the public interest requires universities to be granted broad
  17   discretion to respond to alleged discrimination on campus, and for that reason has
  18   admonished courts against engaging in exactly the sort of micro-management
  19   Plaintiffs seek to impose through their injunction request. See Davis v. Monroe
  20   Cnty. Bd. of Educ., 526 U.S. 629 (1999).
  21          Finally, the injunctive relief that Plaintiffs seek is vague and unenforceable.
  22   The purported “policies” that Plaintiffs seek to enjoin do not exist: UCLA has no
  23   policy permitting Jewish students to be prevented from accessing campus or
  24   attending class, nor is there any policy that prohibits UCLA from preemptively
  25   requesting law enforcement assistance to respond to protest activity that violates
  26   UCLA policy. And Plaintiffs cannot obtain an injunction that merely orders UCLA
  27   to follow nondiscrimination law. Assuming for the sake of argument that Rule 65
  28   permitted such relief, Plaintiffs would still lack standing to obtain it because they
                                                                      DEFS.’ OPP. TO PLFS.’ MOT.
                                                  2                            FOR PRELIM. INJ.
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 11 of 32 Page ID #:766



   1   cannot demonstrate how it would protect them from any “certainly impending”
   2   injury caused by UCLA.
   3          Plaintiffs’ preliminary injunction motion should be denied.
   4                 FACTUAL AND PROCEDURAL BACKGROUND
   5          A.    UCLA’s Response to the Royce Quad Encampment
   6          In April 2024, pro-Palestinian protest encampments appeared on campuses
   7   across the country. See Decl. of Michael Beck (“Beck Decl.”) ¶ 4; Decl. of Monroe
   8   Gorden, Jr. (“Gorden Decl.”) ¶ 4; Decl. of Rick Braziel (“Braziel Decl.”) ¶ 23.
   9   UCLA administrators monitored these developments and discussed strategies for
  10   the campus’s response if protests were to erupt at UCLA. Beck Decl. ¶ 4; Gorden
  11   Decl. ¶ 4.
  12          Around 4:30 a.m. on April 25, protesters began erecting tents in Royce Quad
  13   at the center of UCLA’s main campus. See ECF No. 1 (“Compl.”) ¶ 4; Beck Decl.
  14   ¶ 5. Later that morning, senior UCLA leaders convened the first of many meetings
  15   to discuss strategies for their removal. Beck Decl. ¶ 5. Mindful that schools like
  16   the University of Southern California (“USC”) and Columbia University had
  17   recently called law enforcement to end similar protests, only to have new
  18   encampments rebuilt within days, UCLA chose to first try de-escalation strategies
  19   to remove the encampment peacefully and durably. Id. ¶ 5.
  20          The evening of April 25, UCLA installed metal bike racks around the
  21   encampment to discourage an expansion of its footprint and eventually to establish
  22   “neutral zones” that were intended to deter violence by separating the encampment
  23   from counter-protesters. Id. ¶¶ 6-8. The following day, UCLA received and
  24   granted a request from the Israeli American Council to hold a pro-Israel rally on
  25   April 28, 2024, directly opposite the encampment. See Compl. ¶ 213; Beck Decl.
  26   ¶ 7.
  27          Despite UCLA’s efforts to maintain order, violence broke out during the
  28   April 28 counter-protest. See Beck Decl. ¶¶ 7-10. Based on this experience, UCLA
                                                                    DEFS.’ OPP. TO PLFS.’ MOT.
                                                 3                           FOR PRELIM. INJ.
                                                                    CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 12 of 32 Page ID #:767



   1   moved on from the de-escalation strategy and decided to pursue a law enforcement
   2   response. Id. ¶ 10. It took several days for law enforcement to assemble the
   3   resources required to remove the large encampment safely, during which more
   4   violence occurred, including an attack on the encampment on May 1. See id.
   5   ¶¶ 10-13.
   6         Meanwhile, UCLA’s senior leadership team took action in response to
   7   reports that the encampment was disrupting access to certain buildings adjacent to
   8   Royce Quad. Id. ¶ 11; Gorden Decl. ¶ 5. UCLA increased the security presence in
   9   the area to ensure that all students could continue to attend classes in those
  10   buildings even before the encampment could be removed. Beck Decl. ¶ 11. Third-
  11   party security officers policed neutral zones with a charge of deterring violent
  12   escalation. See id. ¶¶ 7-9.
  13         On May 2, after the protesters had been offered multiple opportunities to
  14   depart voluntarily, law enforcement arrested the more than 200 people who
  15   remained in the encampment, and the encampment was cleared. Compl. ¶¶ 154-55;
  16   Beck Decl. ¶ 13.
  17         B.     Post-Encampment Efforts to Strengthen Capacity to Respond to
  18                Protests
  19         Since UCLA removed the Royce Quad encampment, it has created a new
  20   Office of Campus Safety and prevented protesters from erecting new encampments.
  21   Braziel Decl. ¶¶ 12-15.
  22         Office of Campus Safety. On May 5, UCLA created the Office of Campus
  23   Safety, headed by Associate Vice Chancellor Rick Braziel, who reports directly to
  24   the Chancellor. Compl. ¶¶ 158-59; Braziel Decl. ¶¶ 2,12-13, 16 . Braziel has more
  25   than 30 years’ experience in public safety service, including five years as chief of
  26   police for the City of Sacramento. Braziel Decl. ¶ 3. Additionally, UCLA
  27   reassigned the Chief of the UCLA Police Department at the time of the Royce Quad
  28   encampment, id. ¶ 17, and hired a nationally recognized law enforcement
                                                                      DEFS.’ OPP. TO PLFS.’ MOT.
                                                  4                            FOR PRELIM. INJ.
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 13 of 32 Page ID #:768



   1   consulting firm to review UCLA’s security measures, Decl. of Matthew R. Cowan
   2   (“Cowan Decl.”) ¶ 13 (Ex. 1).
   3           Response to Recent Protest Activity. Under Associate Vice Chancellor
   4   Braziel’s leadership, UCLA’s day-to-day responsibility for campus safety incident
   5   response has shifted to an Emergency Operations Center that is empowered to make
   6   critical decisions about responding to protests on campus, including those that
   7   violate UCLA policy (i.e., by engaging in violence or obstructing access to campus
   8   resources). Braziel Decl. ¶ 21. Consistent with University of California (“UC”)
   9   guidance reflected in what is known as the Robinson-Edley Report, UCLA does not
  10   tolerate non-peaceful protest activity and encampments. Id. ¶¶ 22, 24 & n.1 (Exs.
  11   2-3).
  12           UCLA has since called law enforcement immediately to respond to protest
  13   activity on at least three occasions when UCLA determined that protestors were
  14   willfully disrupting campus operations. Braziel Decl. ¶¶ 27-30; see also Compl. ¶¶
  15   177-78. On May 6, forty-two individuals were arrested for plans to break in and
  16   occupy a building. Braziel Decl. ¶ 28. On May 23, protesters attempted to erect an
  17   encampment on Kerckhoff Patio, but willingly dispersed after they were informed
  18   that they would face arrest and disciplinary action if they failed to do so. Id. ¶ 29.
  19   Finally, on June 10, twenty-seven individuals were arrested for disrupting the
  20   Shapiro Fountain and Moore Hall. Id. ¶ 30. The students who were arrested
  21   received stay-away orders, which prevented them from being on campus for
  22   fourteen days. Id.
  23           Civil Rights Investigation. UCLA is also investigating claims of
  24   discrimination related to the Royce Quad encampment. Indeed, Chancellor Block
  25   has publicly stated that the UCLA Civil Rights Office is retaining an outside firm to
  26   investigate reports of antisemitic discrimination and harassment, anti-Arab or
  27   Islamophobic discrimination and harassment, and harassment that may have
  28
                                                                      DEFS.’ OPP. TO PLFS.’ MOT.
                                                  5                            FOR PRELIM. INJ.
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 14 of 32 Page ID #:769



   1
       interfered with students’ abilities to access UCLA’s programs. Cowan Decl. ¶ 13
   2
       (Ex. 2).
   3
             C.     Plaintiffs’ Lawsuit and Preliminary Injunction Motion
   4
             Plaintiffs filed this lawsuit on June 6, 2024. See Compl. When UCLA
   5
       learned that Plaintiffs intended to seek a preliminary injunction, UCLA asked
   6
       opposing counsel to identify what specific measures they were seeking, in an effort
   7
       to avoid motion practice. Cowan Decl. ¶¶ 5, 7. Plaintiffs did not meaningfully
   8
       respond, id. ¶¶ 6, 8, and proceeded to file this motion, which seeks to enjoin UCLA
   9
       from discriminating against Jewish students and enforcing two “policies” that do
  10
       not exist. See ECF No. 48 (“PI Mot.”). Specifically, Plaintiffs’ proposed
  11
       injunction includes five parts. Three seek to enjoin UCLA from “applying any of
  12
       [its] policies in a way that would give Jewish students less than full and equal
  13
       access” to campus, ECF No. 48-76 (“Proposed Order”) ¶¶ 2, 4, 5—i.e., an
  14
       injunction requiring UCLA generally to follow the law. And two purport to enjoin
  15
       “policies” that (i) “allow[] any person to establish an encampment or checkpoint
  16
       intended to ... deny[] Jewish students access” to UCLA; and (ii) prohibit
  17
       “preemptively requesting law enforcement involvement … to intervene
  18
       immediately when an individual prevents Jewish students from enjoying full and
  19
       equal access” to UCLA, id. ¶¶ 1, 3—two supposed policies that do not exist, as
  20
       explained below. Plaintiffs claim that absent this injunction, they face a risk of
  21
       irreparable harm and that they are likely to prevail on the merits of their federal
  22
       constitutional and statutory claims. PI Mot. at 2-3.
  23
                         PRELIMINARY INJUNCTION STANDARD
  24
             A preliminary injunction is “an extraordinary and drastic remedy” that
  25
       “should not be granted unless the movant, by a clear showing, carries the burden of
  26
       persuasion.” Apartment Ass’n of L.A. Cnty., Inc. v. City of Los Angeles, 10 F.4th
  27
       905, 911 (9th Cir. 2021). To make that showing, a plaintiff “must establish [1] that
  28
                                                                      DEFS.’ OPP. TO PLFS.’ MOT.
                                                  6                            FOR PRELIM. INJ.
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 15 of 32 Page ID #:770



   1   he is likely to succeed on the merits, [2] that he is likely to suffer irreparable harm
   2   in the absence of preliminary relief, [3] that the balance of equities tips in his favor,
   3   and [4] that an injunction is in the public interest.” Winter v. Nat. Res. Def.
   4   Council, Inc., 555 U.S. 7, 20 (2008). Only when a plaintiff can demonstrate
   5   “serious questions going to the merits and a balance of hardships that tips sharply
   6   towards the plaintiffs” can an injunction issue, and even then, only “so long as the
   7   plaintiffs also show that there is a likelihood of irreparable injury and that the
   8   injunction is in the public interest.” Fraihat v. U.S. Immigr. & Customs Enf’t, 16
   9   F.4th 613, 635 (9th Cir. 2021) (emphasis added, alterations and citations omitted).
  10         Further, a plaintiff’s request for a preliminary injunction fails at the threshold
  11   if he cannot establish: (i) standing to seek such relief by showing an imminent
  12   future injury redressable by the relief he seeks, see, e.g., Yazzie v. Hobbs, 977 F.3d
  13   964, 966 (9th Cir. 2020); and (ii) that the requested injunction is “tailored to
  14   remedy the specific harm alleged,” Hecox v. Little, -- F.4th --, 2023 WL 11804896,
  15   at *19 (9th Cir. Aug. 17, 2023, amended June 7, 2024) (quotations omitted) (“An
  16   overbroad injunction is an abuse of discretion.”). Additionally, Rule 65(d) forbids
  17   injunctions that do not “describe in reasonable detail … the act or acts restrained or
  18   required.” Fed. R. Civ. P. 65(d)(1).
  19         Courts deciding preliminary injunction motions can consider evidence
  20   outside the complaint. See, e.g., Danielson v. Wells Fargo Bank, 2011 WL
  21   4551177, at *1 (C.D. Cal. Sept. 29, 2011); Fed. R. Civ. P. 65(a)(2). For the reasons
  22   below, the record evidence requires rejecting Plaintiffs’ request for preliminary
  23   injunctive relief, both because Plaintiffs have failed to demonstrate their standing to
  24   seek such relief, and because they have failed to satisfy the equitable factors that
  25   would justify the drastic remedy of a preliminary injunction.
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                                                                       DEFS.’ OPP. TO PLFS.’ MOT.
                                                   7                            FOR PRELIM. INJ.
                                                                       CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 16 of 32 Page ID #:771



   1                                       ARGUMENT
   2   I.    THE COURT LACKS JURISDICTION TO ENTERTAIN
   3         PLAINTIFFS’ REQUEST FOR A PRELIMINARY INJUNCTION
   4         BECAUSE PLAINTIFFS CANNOT DEMONSTRATE STANDING TO
   5         SEEK THE REQUESTED RELIEF
   6         At the pleading stage, to establish standing, Plaintiffs must “clearly [] allege
   7   facts demonstrating” that they “have (1) suffered an injury in fact, (2) that it is
   8   fairly traceable to the challenged conduct of the defendant, and (3) that it is likely to
   9   be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S.
  10   330, 338 (2016). Additionally, to seek injunctive relief, Plaintiffs must face a risk
  11   of future injury that is “certainly impending.” Clapper v. Amnesty Int’l USA, 568
  12   U.S. 398, 410 (2013); Wright v. Serv. Emps. Int’l Union Loc. 503, 48 F.4th 1112,
  13   1118 (9th Cir. 2022) (same). Plaintiffs cannot make this showing.
  14         A.     Plaintiffs Fail to Allege an Imminent Likelihood of Future Injury
  15         No Plaintiff alleges that he or she faces a “certainly impending” injury absent
  16   injunctive relief. Nor could they. Plaintiffs’ only allegations of actual harm are
  17   based on past events, primarily relating to the Royce Quad encampment. But past
  18   injuries do not suffice to demonstrate that plaintiffs will necessarily be harmed in
  19   the future. See Wright, 48 F.4th at 1118 (“Past wrongs are insufficient by
  20   themselves to grant standing” for prospective relief.). Indeed, “past exposure to
  21   harm is largely irrelevant when analyzing claims of standing for injunctive relief
  22   that are predicated upon threats of future harm.” Nelson v. King County, 895 F.2d
  23   1248, 1251 (9th Cir. 1990) (emphasis added).
  24         UCLA’s actions after the Royce Quad encampment make any such future
  25   injury speculative at best. See, e.g., Doe v. Bonta, 101 F.4th 633, 640 (9th Cir.
  26   2024) (“speculative fears relying upon a ‘chain of contingencies’ and … ‘fears of
  27   hypothetical future harm’ are insufficient” for purposes of preliminary injunctive
  28   relief). Since early May, despite sustained nationwide protest activity related to the
                                                                       DEFS.’ OPP. TO PLFS.’ MOT.
                                                   8                            FOR PRELIM. INJ.
                                                                       CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 17 of 32 Page ID #:772



   1   war in Gaza and specific attempts to reconstruct encampments at UCLA, no such
   2   encampments have been constructed on UCLA’s campus because UCLA has taken
   3   decisive action to prevent them. See supra at 4-5. Simultaneously, as described
   4   above, UCLA is undertaking efforts to further strengthen its capacity to respond to
   5   protests that violate its policies, to investigate reports of discrimination, harassment,
   6   and other misconduct, and to have a safe return to campus in August for its
   7   students. See id. In light of these actions, Plaintiffs cannot carry their burden of
   8   demonstrating that an injunction is necessary to prevent injuries similar to those
   9   that they allegedly sustained during the Royce Quad protest encampment.
  10         Nor can Plaintiffs overcome this deficiency by pointing to other types of
  11   allegedly antisemitic activity before or after the Royce Quad encampment.
  12   Plaintiffs were exposed to these events because they were in the vicinity of a protest
  13   occurring on a public university campus, where the First Amendment applies. See,
  14   e.g., ECF No. 48-1 (“PI Mot. Memo.”) at 9-14; Compl. ¶¶ 206, 245, 289. But there
  15   is no way to conclude that unidentified protesters, who may not even be members
  16   of the UCLA community, will protest again, much less seek out these Plaintiffs.
  17   “[I]t is surely no more than speculation” to assert that any Plaintiff “himself will
  18   again be involved in one of those unfortunate instances,” as is necessary to obtain
  19   injunctive relief. City of Los Angeles v. Lyons, 461 U.S. 95, 108 (1983) (emphasis
  20   added). The “emotional consequences” of prior harm (see, e.g., Compl. ¶¶ 75, 252,
  21   290) are no substitute for “a real and immediate threat of future injury by the
  22   defendant.” Lyons, 461 U.S. at 107 n.8.
  23         Finally, Plaintiffs cannot point to any campus or University-wide policy that
  24   violates federal, state, or city law. In some circumstances, the existence of a policy
  25   that a university is duty-bound to apply can be evidence of future harm if
  26   enforcement of the policy would cause such harm. See, e.g., Students for Fair
  27   Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181, 201
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                                                                       DEFS.’ OPP. TO PLFS.’ MOT.
                                                  9                             FOR PRELIM. INJ.
                                                                       CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 18 of 32 Page ID #:773



   1   (2023) (enjoining university-wide affirmative action policy). But here, there is no
   2   such policy.
   3         Plaintiffs’ conclusory allegations that such a policy exists are contradicted by
   4   the actual facts. Plaintiffs generally allege the existence of UCLA policies that
   5   (i) permit the construction of discriminatory encampments; and (ii) preclude the use
   6   of law enforcement in response. See Compl. ¶ 73; PI Mot. Memo. at 24-26. But
   7   Plaintiffs fail to identify any written policies consistent with these allegations. In
   8   fact, Plaintiffs elsewhere acknowledge that UCLA policies explicitly prohibit
   9   unauthorized encampments and the discrimination and exclusion of Jewish
  10   students. See Compl. ¶¶ 52, 141, 156 & nn.7-9.
  11         Indeed, UCLA’s conduct makes clear that the policies Plaintiffs allege do not
  12   exist. As explained above, after attempting de-escalation, UCLA engaged law
  13   enforcement to take down the Royce Quad encampment on May 2, and has since
  14   involved law enforcement to defeat three subsequent attempts to establish new
  15   encampments. See supra at 4-5. That actual conduct definitively forecloses
  16   Plaintiffs’ unsupported assertion that UCLA has a policy of allowing such
  17   encampments.
  18         UCLA’s actual conduct also demonstrates that there is no policy that bars
  19   calling law enforcement “preemptively” to ensure that all students, including
  20   Jewish students, have access to UCLA facilities and programs. UCLA has
  21   repeatedly relied on law enforcement in response to recent protests and, since
  22   dismantling the Royce Quad encampment on May 2, has acted decisively to prevent
  23   encampments before they form. See supra at 4-5. Plaintiffs’ contrary view relies
  24   on press releases and Chancellor Block’s congressional testimony. Compl. ¶¶ 141-
  25   45, 156-59; PI Mot. Memo. at 5, 8, 26. But the cherry-picked statements on which
  26   they rely are shorthand references to the Robinson-Edley Report—a 100-page
  27   University of California (“UC”) systemwide guidance document—that does not
  28   contain the word “preemptive” and affords UC campuses broad discretion to
                                                                       DEFS.’ OPP. TO PLFS.’ MOT.
                                                  10                            FOR PRELIM. INJ.
                                                                       CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 19 of 32 Page ID #:774



   1   respond to protests that violate their policies without unduly impeding freedom of
   2   expression. See supra at 5. Such discretion is, again, why UCLA has relied on law
   3   enforcement repeatedly.
   4          Plaintiffs’ inability to demonstrate a non-speculative likelihood of future
   5   injury means that their request for preliminary injunctive relief fails at the
   6   threshold.
   7          B.     Plaintiffs Do Not Allege Facts Clearly Demonstrating That UCLA
   8                 Will Cause Them Any Future Injury
   9          Plaintiffs also lack standing for prospective relief because they have not
  10   pleaded facts demonstrating that UCLA would be the cause of any future injury that
  11   they might suffer, such that an injunction directed at UCLA would redress those
  12   alleged injuries. See Spokeo, 578 U.S. at 338. That is crucial because Plaintiffs are
  13   not entitled to a preliminary injunction if the future injury they allege is caused by
  14   “the independent action of some third party not before the court.” See Salmon
  15   Spawning & Recovery All. v. Gutierrez, 545 F.3d 1220, 1227 (9th Cir. 2008)
  16   (quotations omitted). “[A]n injury that results from [a] third party’s voluntary and
  17   independent actions or omissions cannot serve to establish standing.” Lunn v. City
  18   of Los Angeles, 629 F. Supp. 3d 1007, 1012-13 (C.D. Cal. 2022). Yet future
  19   injuries caused by third parties are the only future harms Plaintiffs assert as the
  20   basis for injunctive relief.
  21          Both the Complaint and the Motion contain claims of discrimination and
  22   harassment that Plaintiffs allegedly experienced on the UCLA campus, but those
  23   bad acts were not perpetrated by UCLA. Rather, Plaintiffs’ injuries were caused by
  24   unidentified “activists” whose antisemitic conduct UCLA has condemned and
  25   sought law enforcement support to end. See Compl. ¶¶ 148, 155; PI Mot. Memo. at
  26   6-9. Plaintiffs will presumably respond that they were injured by alleged
  27   weaknesses in UCLA’s response to the Royce Quad encampment. But even if that
  28   characterization were accurate, it would not suffice to show that those alleged
                                                                       DEFS.’ OPP. TO PLFS.’ MOT.
                                                  11                            FOR PRELIM. INJ.
                                                                       CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 20 of 32 Page ID #:775



   1   weaknesses in UCLA’s past response persist, especially in light of UCLA’s already
   2   improved, and improving, capacity to respond. See supra at 8-9. To establish
   3   standing, Plaintiffs must show UCLA’s efforts are insufficient to prevent future
   4   injury to them caused by UCLA, and there is simply no way Plaintiffs can make that
   5   showing.
   6         That does not mean, of course, that there will never again be disruptive
   7   protests on UCLA’s campus. The question is whether any harm from future
   8   protests—including injuries caused by independent third parties—can be attributed
   9   to UCLA, given its extensive efforts to prevent and redress such incidents with
  10   de-escalation, dispersal, and arrests. See, e.g., Lunn, 629 F. Supp. 3d at 1013
  11   (plaintiffs lacked standing to sue the City for injuries caused by “deliberate
  12   choices” of third parties).
  13   II.   PLAINTIFFS FAIL TO SATISFY THE STANDARDS FOR A
  14         PRELIMINARY INJUNCTION
  15         A.     Plaintiffs Cannot Show a Likelihood of Irreparable Harm
  16         To secure a preliminary injunction, Plaintiffs must “demonstrate a likelihood,
  17   rather than a possibility, of irreparable harm” absent the requested injunctive relief.
  18   S&R Glob. Inc. v. Park, 2024 WL 3086638, at *1 (C.D. Cal. Apr. 29, 2024) (citing
  19   Winter, 555 U.S. at 20). Plaintiffs cannot make either showing for much the same
  20   reasons they cannot demonstrate standing: the alleged past harm from the Royce
  21   Quad encampment does not establish future harm—particularly in light of UCLA’s
  22   many mitigation efforts, including preventing the creation of new encampments on
  23   several occasions. And again, to the extent Plaintiffs say they will be irreparably
  24   harmed by alleged UCLA policies that permit discriminatory protest encampments
  25   or that prevent UCLA from calling law enforcement to respond to protests, there
  26   are no such policies. See supra at 10.
  27
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                                                                      DEFS.’ OPP. TO PLFS.’ MOT.
                                                 12                            FOR PRELIM. INJ.
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 21 of 32 Page ID #:776



   1         B.     Plaintiffs Are Unlikely to Succeed on the Merits of Their Claims
   2         Plaintiffs also fail to show any likelihood of success on the merits of their
   3   claims.
   4                1.     None of Plaintiffs’ Constitutional Claims Is Viable
   5         Plaintiffs are unlikely to prevail on their Free Exercise, Free Speech, and
   6   Equal Protection claims for two principal reasons: (i) with few exceptions, the
   7   conduct about which Plaintiffs complain is not “state action”; and (ii) the few acts
   8   that can be attributed to UCLA are constitutional.2
   9                i.     Plaintiffs Cannot Bring Constitutional Claims Against UCLA
  10                       Based on Non-State Action
  11         It is black-letter law that “‘merely private conduct, however discriminatory
  12   or wrongful,’ falls outside the purview of the Fourteenth Amendment.” Belgau v.
  13   Inslee, 975 F.3d 940, 946 (9th Cir. 2020) (quoting Blum v. Yaretsky, 457 U.S. 991,
  14   1002 (1982)). Plaintiffs’ constitutional claims fail this threshold step.
  15         The crux of the Complaint and the instant motion is that the Royce Quad
  16   encampment injured Plaintiffs and that UCLA is responsible for those injuries
  17   because UCLA should have ended the encampment sooner by “preemptively”
  18   seeking law enforcement assistance. See, e.g., Compl. ¶¶ 11, 139, 117-18; PI Mot.
  19   Memo. at 25-26. But a university’s obligations under the Constitution are limited
  20   (more than, for example, in the context of Title VI). Because the Fourteenth
  21   Amendment does “not impose a duty on [the state] to protect individuals from third
  22   parties,” a “state is not liable for its omissions,” even where state action is
  23   “necessary to secure life, liberty, or property interests.” Patel v. Kent Sch. Dist.,
  24
  25
  26
       2
         At minimum, to the extent that the Court enters an injunction based on Plaintiffs’
       likelihood of success on their constitutional claims, such injunction should not issue
  27   against the Regents of the University of California, which is an “arm of the state”
  28   and therefore immune from suit in federal court for claims brought under § 1983.
       See, e.g., Feied v. Regents of Univ. of Cal., 188 F. App’x 559, 561 (9th Cir. 2006).
                                                                        DEFS.’ OPP. TO PLFS.’ MOT.
                                                  13                             FOR PRELIM. INJ.
                                                                        CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 22 of 32 Page ID #:777



   1   648 F.3d 965, 971 (9th Cir. 2011) (quotations omitted). Neither of the exceptions
   2   to this general rule applies here.
   3         Under the “special-relationship” exception, a state can be held accountable
   4   for failing to take action to protect individuals who it has “take[n] ... into its custody
   5   and holds ... there against [their] will.” Id. at 972 (quotations omitted). 3 UCLA has
   6   no such relationship with its students under federal law. The Ninth Circuit has held
   7   that despite a state law requiring mandatory school attendance, a public high school
   8   did not have a special relationship with a “developmentally disabled” student
   9   injured by another student on its premises. Id. The court reasoned that
  10   “compulsory school attendance does not restrict a student’s liberty such that neither
  11   the student nor the parents can attend to the student’s basic needs.” Id. at 973.
  12   Clearly, Plaintiffs here—a rising UCLA junior and two law school students—have
  13   far greater autonomy than the developmentally disabled student who was injured in
  14   Patel. See Am.’s Frontline Drs. v. Wilcox, 2022 WL 1514038, at *10 (C.D. Cal.
  15   May 5, 2022) (“UC undergraduate and graduate students” are not in a custodial
  16   relationship with the University for the purposes of establishing a “special
  17   relationship”). There is thus no plausible argument under Ninth Circuit precedent
  18
  19
  20
       3
         It is not relevant whether parties have a “special relationship” for the purpose of
       state tort liability. See PI Mot. Memo. at 25 (citing Regents of Univ. of Cal. v.
  21   Superior Ct., 4 Cal. 5th 607, 620-21 (2018)). State-law duties owed as a matter of a
  22   special relationship were not “constitutionalized by the Fourteenth Amendment.”
       DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs., 498 U.S. 189, 201-02 (1989).
  23   And California’s “special relationship” test is far easier to satisfy than the
  24   Fourteenth Amendment’s. Compare Regents of Univ. of Cal., 4 Cal. 5th at 620-21
       (extending California special-relationship duty to relationships that have “an aspect
  25   of dependency in which one party relies to some degree on the other for
  26   protection,” including “common carrier and innkeeper” with customers and
       “business or landowner with invited guests”), with Patel, 648 F.3d at 972
  27   (explaining that special relationships for purposes of Fourteenth Amendment
  28   include only those defined by “incarceration, institutionalization, or other similar
       restraint of personal liberty”).
                                                                        DEFS.’ OPP. TO PLFS.’ MOT.
                                                  14                             FOR PRELIM. INJ.
                                                                        CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 23 of 32 Page ID #:778



   1   that UCLA has the sort of special relationship with Plaintiffs that UCLA could be
   2   held liable under the Constitution for inaction.
   3         Separately, states can be liable for failing to act when an individual is injured
   4   by a third party after the state affirmatively placed that individual in danger. See,
   5   e.g., Ogbechie v. Covarrubias, 2020 WL 3103789, at *5 (N.D. Cal. June 11, 2020).
   6   But Plaintiffs plead no affirmative action by UCLA that created a “particularized
   7   danger” to which they would otherwise not have been exposed. See Compl. ¶¶ 11,
   8   19, 117-18.4
   9                  ii.   Plaintiffs’ Constitutional Claims Based on UCLA’s Actions Are
  10                        Meritless
  11         Plaintiffs also contend that UCLA is liable based on its own actions, but
  12   those claims fail on the merits. When the Royce Quad encampment was
  13   constructed on April 25, in violation of UC and UCLA policies, UCLA
  14   administrators had to decide how to respond. Cognizant of recent experiences at
  15   peer institutions, UCLA reasonably chose to try to de-escalate the situation by
  16   allowing the protest to continue, while attempting to confine its footprint, prevent
  17   violence, and facilitate access to academic programs. When this approach no
  18   longer proved feasible, UCLA sought law enforcement assistance to remove the
  19   encampment. Plaintiffs assert that they suffered constitutional injuries from actions
  20   that UCLA took while pursuing the de-escalation strategy and coordinating with
  21   law enforcement to remove the encampment. More specifically, Plaintiffs contend
  22   that UCLA facilitated or supported discrimination and harassment by:
  23
  24
  25
  26   4
        Even where a state actor affirmatively exposes an individual to a particularized
  27   danger, the state is only liable if it is deliberately indifferent to that danger.
  28   Martinez v. City of Clovis, 943 F.3d 1260, 1271 (9th Cir. 2019). As explained
       below, Plaintiffs cannot make that showing either. See infra at 18-19.
                                                                      DEFS.’ OPP. TO PLFS.’ MOT.
                                                 15                            FOR PRELIM. INJ.
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 24 of 32 Page ID #:779



   1       • Discouraging and/or preventing students from entering the Royce Quad
   2          encampment over the objection of the protesters. See, e.g., Compl. ¶¶ 13,
   3          121-22;
   4       • Setting up metal bicycle racks around the encampment to deter expansion
   5          and establish neutral zones intended to reduce the risk of direct
   6          confrontations with counter-protesters. See, e.g., id. ¶ 136.5
   7   Plaintiffs will not prevail on the merits of their constitutional claims based on these
   8   actions.
   9          To start, UCLA’s actions did not burden interests protected by the Free
  10   Exercise, Free Speech, or Equal Protection Clauses. Plaintiffs’ Free Exercise and
  11   Equal Protection claims fail because Plaintiffs nowhere allege that UCLA
  12   intentionally singled out Jewish students for unfavorable treatment. See Trinity
  13   Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449, 458 (2017) (the Free
  14   Exercise Clause “protects religious observers against unequal treatment and
  15   subjects to the strictest scrutiny laws that target the religious for special disabilities
  16   based on their religious status”) (alterations and quotations omitted); Shooter v.
  17   Arizona, 4 F.4th 955, 960 (9th Cir. 2021) (“To state a claim ... for a violation of the
  18   Equal Protection Clause ... a plaintiff must show that the defendants acted with an
  19   intent or purpose to discriminate ... based upon membership in a protected class.”).
  20   To the contrary, Plaintiffs allege only neutral policies—not based on any student’s
  21   religion or ethnicity—that were focused entirely on deescalating and preventing
  22   violence. And Plaintiffs’ Free Speech Clause claim fails because—unlike the cases
  23   they cite—UCLA’s actions neither suppressed nor coerced speech. See
  24   Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 830-37 (1995)
  25   (Free Speech Clause violated when a university silenced a student publication by
  26
  27   5
        Plaintiffs also allege that due to the Royce Quad encampment, UCLA canceled
  28   classes on May 1 and held classes remotely on May 2 and 3. See PI Mot. Memo. at
       7. But Plaintiffs do not cite these actions as the basis for their federal claims.
                                                                         DEFS.’ OPP. TO PLFS.’ MOT.
                                                   16                             FOR PRELIM. INJ.
                                                                         CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 25 of 32 Page ID #:780



   1   refusing to pay its printing costs); see generally 303 Creative LLC v. Elenis, 600
   2   U.S. 570 (2023) (First Amendment precludes state nondiscrimination law from
   3   compelling a website designer to provide her services to same-sex couples
   4   purchasing wedding websites).
   5         But even if UCLA’s conduct implicated constitutionally protected interests,
   6   Plaintiffs will not prevail on these claims because UCLA’s actions were narrowly
   7   tailored to further a compelling governmental interest. See, e.g., Williams-Yulee v.
   8   Fla. Bar, 575 U.S. 433 (2015) (upholding content-based restriction on speech that
   9   survived strict scrutiny).
  10         UCLA undoubtedly has a compelling interest in promoting “public safety
  11   and security” on its campus. Meinecke v. City of Seattle, 99 F.4th 514, 525 (9th
  12   Cir. 2024). Plaintiffs themselves allege that the encampment and its environs
  13   quickly became a flashpoint. See Compl. ¶¶ 135-36; PI Mot. Memo. at 6. Faced
  14   with a rapidly evolving situation that entailed a significant risk of violence, UCLA
  15   took appropriate steps to keep the peace until it could make the necessary
  16   arrangements with law enforcement to have the Royce Quad encampment removed,
  17   all while giving counter-protesters space on Royce Quad to express their views
  18   directly opposite to the encampment. See supra at 3-4.
  19         Plaintiffs appear to argue that UCLA could have maintained safety without
  20   burdening their (allegedly) constitutionally protected interests if UCLA had
  21   “preemptively” removed the first encampment at Royce Quad. See Compl. ¶¶ 11,
  22   19, 117-18; PI Mot. Memo. at 25-26. But that is 20/20 hindsight. UCLA
  23   reasonably attempted a de-escalation response to the Royce Quad encampment;
  24   when the situation devolved, UCLA took steps to remove it with all possible haste.
  25   Plaintiffs question why law enforcement did not remove the Royce Quad
  26   encampment when responding to an attack on the encampment on May 1, PI Mot.
  27   Memo. at 6-7, but the law enforcement presence that night focused on the
  28   immediate violence and lacked the resources to remove the encampment, Beck
                                                                     DEFS.’ OPP. TO PLFS.’ MOT.
                                                17                            FOR PRELIM. INJ.
                                                                     CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 26 of 32 Page ID #:781



   1   Decl. ¶ 12. In any case, the precise time at which law enforcement was
   2   operationally equipped to remove the encampment is not “a question of
   3   constitutional dimension.” Burson v. Freeman, 504 U.S. 191, 210 (1992) (citation
   4   omitted). And of course, Plaintiffs do not and could not plausibly allege that there
   5   is any ongoing constitutional violation requiring injunctive intervention.
   6                2.    Plaintiffs Cannot Show That UCLA Was Deliberately Indifferent
   7                      to Harassment Directed at Them by UCLA Students and Faculty
   8          Plaintiffs’ Title VI claim is also unlikely to succeed. The Supreme Court has
   9   held that schools can only be liable for peer-on-peer harassment when the school’s
  10   “own deliberate indifference effectively caused the discrimination.” Davis, 526
  11   U.S. at 642-44 (quotation omitted); Karasek v. Regents of Univ. of Cal., 956 F.3d
  12   1093, 1105 (9th Cir. 2020). It is not enough that a school’s response was
  13   “negligent, lazy, or careless.” Karasek, 956 F.3d at 1105; see also Oden v. N.
  14   Marianas Coll., 440 F.3d 1085, 1089 (9th Cir. 2006). Rather, Plaintiffs must show
  15   that a “school’s ‘response to the harassment or lack thereof [was] clearly
  16   unreasonable in light of the known circumstances.’” Karasek, 956 F.3d at 1105
  17   (quoting Davis, 526 U.S. at 648) (emphasis added). Here, however, UCLA
  18   proactively responded to the Royce Quad encampment and has successfully
  19   prevented subsequent efforts to occupy portions of the UCLA campus. See supra at
  20   3-5.
  21          Specifically, with respect to the Royce Quad encampment, UCLA promptly
  22   determined that “the encampment was ‘unlawful’ and a ‘breach of policy’” and
  23   attempted a de-escalation response. Compl. ¶ 154 (quotation omitted); Beck Decl.
  24   ¶¶ 5-13; Gorden Decl. ¶ 7. When violence broke out, UCLA decided to move from
  25   the de-escalation response and “asked UCPD and outside law enforcement officers
  26   to enter and clear the encampment.” Compl. ¶ 154 (quotation omitted). The fact
  27   that UCLA spent several days trying to convince the encampment to disband
  28   voluntarily before activating a law enforcement response does not render UCLA’s
                                                                     DEFS.’ OPP. TO PLFS.’ MOT.
                                                18                            FOR PRELIM. INJ.
                                                                     CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 27 of 32 Page ID #:782



   1   response “clearly unreasonable.” That is especially so given what UCLA knew at
   2   the time: other schools’ early activation of law enforcement had proved
   3   unsuccessful in removing pro-Palestinian protest encampments. See Beck Decl. ¶¶
   4   4-5.
   5          In the wake of the encampment, UCLA has taken numerous actions to further
   6   improve its response capacity and to address claims of discrimination and
   7   harassment. See supra at 4-5. The implication that UCLA might be deliberately
   8   indifferent going forward—as Plaintiffs must show to secure extraordinary
   9   preliminary injunctive relief—borders on frivolous. UCLA’s response has been
  10   robust and extensive, and well within the bounds of “flexibility” that the Supreme
  11   Court held in Davis must be afforded to school administrators. 562 U.S. at 648.
  12          C.    The Public Interest and Balance of Equities Do Not Favor a
  13                Preliminary Injunction
  14          The Royce Quad protest encampment remains disbanded, and UCLA’s
  15   actions over the past two months demonstrate UCLA’s commitment to preventing
  16   new encampments from taking its place. Thus, the balance of the equities cannot
  17   support this Court entering a vague and impractical injunction ordering UCLA to
  18   do what it is already doing or to stop enforcing policies that do not exist. The
  19   Supreme Court held in Davis that school administrators must be afforded
  20   “flexibility” responding to student harassment and discrimination. Id. at 648-49.
  21   The vague and far-reaching order Plaintiffs request is impossible to administer and
  22   will do nothing but “needlessly” and “disruptive[ly]” interpose this Court into
  23   UCLA’s ongoing effort to promote a safer school environment in the fall. Benisek
  24   v. Lamone, 585 U.S. 155, 161 (2018). It certainly will not benefit Plaintiffs, who
  25   have not pointed to any harm they are likely to suffer absent their proposed
  26   injunction. See Cause & FX Ltd. v. Saban Films, LLC, 2021 WL 6104414, at *4
  27   (C.D. Cal. Nov. 10, 2021) (“[I]t simply does not appear equitable to” enter
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                                                                     DEFS.’ OPP. TO PLFS.’ MOT.
                                                 19                           FOR PRELIM. INJ.
                                                                     CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 28 of 32 Page ID #:783



   1   injunction where “Plaintiff has not adequately shown a likelihood of irreparable
   2   harm.”).
   3         Nor can Plaintiffs carry their “initial burden” to show that a preliminary
   4   injunction will serve the public interest. Stormans, Inc. v. Selecky, 586 F.3d 1109,
   5   1139 (9th Cir. 2009). In fact, the public interest strongly favors permitting UCLA
   6   to proceed into next semester with full control of its own policies and programs.
   7   Cf. Davis, 526 U.S. at 648-49 (school administrators need “flexibility” to balance
   8   “substantial burdens as a result of legal constraints on their disciplinary authority”);
   9   J.M. v. Chino Valley Unified Sch. Dist., 2018 WL 6075349, at *9 (C.D. Cal. Feb.
  10   23, 2018) (quotations omitted) (“[C]ourts have recognized a public interest to
  11   enable school districts ... to allow districts flexibility in administering their
  12   programs.”). It is difficult to administer a public university in times of intense
  13   debate. Yet it is central to UCLA’s mission to protect and advance “the expansive
  14   freedoms of speech and thought associated with the university environment.”
  15   Grutter v. Bollinger, 539 U.S. 306, 329 (2003). That is so even—and especially—
  16   when the speech is controversial. UCLA draws the line when individual liberties
  17   infringe on public safety. See Schenck v. United States, 249 U.S. 47, 51-52 (1919)
  18   (Holmes, J.). When speech and safety interests collide on campus, as they did in
  19   Royce Quad last semester, school administrators must make extraordinarily
  20   difficult decisions. UCLA is well equipped to make those decisions, and to adapt—
  21   as it has in the past two months—in the face of evolving circumstances. An
  22   injunction on the eve of the fall semester would do nothing but derogate “the
  23   serious consideration of the public interest ... that has already been undertaken by
  24   the responsible state officials” who oversee the campus. Stormans, 586 F.3d at
  25   1139-40.
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                                                                         CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 29 of 32 Page ID #:784



   1   III.   PLAINTIFFS’ REQUESTED INJUNCTION IS VAGUE AND NOT
   2          ADMINISTRABLE
   3          The fact that Plaintiffs’ proposed injunction is vague and inadministrable is
   4   an independent reason to deny it. Rule 65 requires that an order granting injunctive
   5   relief “state its terms specifically” and “describe in reasonable detail … the act or
   6   acts sought to be restrained.” Roman v. MSL Cap., LLC, 2019 WL 3017765, at *5
   7   (C.D. Cal. July 9, 2019) (citation omitted), aff’d, 820 F. App’x 592 (9th Cir. 2020).
   8   Those mandates “are no mere technical requirements. The Rule was designed to
   9   prevent uncertainty and confusion on the part of those faced with injunctive orders,
  10   and to avoid the possible founding of a contempt citation on a decree too vague to
  11   be understood.” Schmidt v. Lessard, 414 U.S. 473, 476 (1974).
  12          Uncertainty and confusion is the sum total of Plaintiffs’ proposed preliminary
  13   injunction. They seek an order enjoining UCLA from applying nonexistent policies
  14   and “from applying any of [its unspecified] policies” in a way that prevents “Jewish
  15   students from enjoying full and equal access” to the school. Proposed Order ¶¶ 1-5.
  16   Such an order is at the same time too vague for UCLA to follow and too
  17   far-reaching for the Court to administer.
  18          Plaintiffs’ proposed injunction is vague because it would direct UCLA to
  19   follow antidiscrimination law without “specify[ing] what act [i]s being enjoined.”
  20   Nightingale v. U.S. Citizenship & Immigr. Servs., 333 F.R.D. 449, 463 (N.D. Cal.
  21   2019). Courts routinely reject such “obey the law” injunctions. Id.; see also, e.g.,
  22   Muhammad v. California, 2020 WL 9848693, at *14 (C.D. Cal. Oct. 8, 2020)
  23   (injunction stating “[d]efendants [shall] … cease any policy or practice that
  24   interferes with the Plaintiff’s exercise of her right to petition the government”
  25   violates Rule 65(d)); Elend v. Basham, 471 F.3d 1199, 1209-10 (11th Cir. 2006)
  26   (same, for hypothetical injunction stating “the Secret Service shall ensure there’s no
  27   violation of the First Amendment”); Payne v. Travenol Lab’ys, Inc., 565 F.2d 895,
  28   897 (5th Cir. 1978) (same, for injunction against discrimination “on the basis of
                                                                      DEFS.’ OPP. TO PLFS.’ MOT.
                                                   21                          FOR PRELIM. INJ.
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 30 of 32 Page ID #:785



   1   color, race, or sex in employment practices or conditions of employment in
   2   defendants’ Cleveland, Mississippi facility”); Sessler v. City of Davenport, 990
   3   F.3d 1150, 1157 n.3 (8th Cir. 2021) (same, for order enjoining city “from restricting
   4   and limiting [Plaintiff’s] rights to peacefully share his message of faith”).
   5         And the proposed injunction is not administrable because it would make this
   6   Court, rather than UCLA, the ultimate arbiter of how to implement any and all
   7   UCLA “policies” to prevent discrimination against Jewish students (while also,
   8   presumably, fulfilling all of UCLA’s other goals and obligations, including
   9   fostering education, promoting safety, and protecting all students’ rights to engage
  10   in robust, sincere debate and be free of discrimination). That is not something
  11   Article III courts are empowered or equipped to do. See Davis, 526 U.S. at 648-49;
  12   Juliana v. United States, 947 F.3d 1159, 1171 (9th Cir. 2020) (“[I]t is beyond the
  13   power of an Article III court to order, design, supervise, or implement” a requested
  14   “remedial plan” that “would necessarily require a host of complex policy
  15   decisions.”); Utah Physicians for a Healthy Env’t v. Diesel Power Gear LLC, 374
  16   F. Supp. 3d 1124, 1136 (D. Utah 2019) (no standing to pursue “overbroad” request
  17   that is not “tied to ... [a] cognizable injury”). And it is particularly not something
  18   this Court can do based on these Plaintiffs’ claims, because the broad administrative
  19   oversight of UCLA’s policies that Plaintiffs request has nothing to do with the core
  20   conduct that they say injured them: UCLA’s past response to the (now nonexistent)
  21   Royce Quad encampment. A “remedy must of course be limited to the inadequacy
  22   that produced the injury in fact that the plaintiff” alleges, Gill v. Whitford, 585 U.S.
  23   48, 68 (2018) (quotations omitted), and the remedy Plaintiffs seek here is a
  24   complete mismatch with the harms they allege.
  25         In the end, Plaintiffs cannot identify any policy likely to injure them in the
  26   future, because no such policy exists. And because Plaintiffs cannot draft an
  27   injunction tethered to a real UCLA policy, they are not seeking a proper injunction
  28   at all. See Fed. R. Civ. P. 65(d); Gill, 585 U.S. at 68.
                                                                       DEFS.’ OPP. TO PLFS.’ MOT.
                                                  22                            FOR PRELIM. INJ.
                                                                       CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 31 of 32 Page ID #:786



   1                                    CONCLUSION
   2         For all of the foregoing reasons and based on the declarations submitted
   3   herewith, Plaintiffs’ motion for preliminary injunction should be denied.
   4
        Dated: July 8, 2024               Respectfully submitted,
   5
                                          By:      /s/ Matthew R. Cowan
   6                                              MATTHEW R. COWAN
   7                                              Attorney for Defendants The Regents of
                                                  the University of California; Michael V.
   8                                              Drake; Gene D. Block; Darnell Hunt;
                                                  Michael Beck; Monroe Gorden, Jr.;
   9                                              and Rick Braziel
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                                                                    CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 62 Filed 07/08/24 Page 32 of 32 Page ID #:787



   1                          CERTIFICATE OF COMPLIANCE
   2         The undersigned, counsel of record for Defendants, certifies that this brief
   3   contains 6,981 words, which complies with the word limit of L.R. 11-6.1.
   4
        Dated: July 8, 2024               Respectfully submitted,
   5
   6                                      By:      /s/ Matthew R. Cowan
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   8                                              Drake; Gene D. Block; Darnell Hunt;
                                                  Michael Beck; Monroe Gorden, Jr.;
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